                                                                                                                              Case 2:19-cv-00227-APG-NJK Document 93 Filed 09/24/20 Page 1 of 10



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                                                                                                                         12                            UNITED STATES DISTRICT COURT
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                         13                                      DISTRICT OF NEVADA
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14    DIAMOND RESORTS CORPORATION, a
                                                                                                                               Maryland corporation; DIAMOND                  Case No.:   2:19-cv-00227-APG-NJK
                                                                                                                         15    RESORTS HOLDINGS, LLC, a Nevada
                                                                                                                               limited liability company; and DIAMOND
                                                                                                                         16    RESORTS INTERNATIONAL, INC., a
                                                                                                                               Delaware corporation,                          CONSENT JUDGMENT AND
                                                                                                                         17                                                   PERMANENT INJUNCTION
                                                                                                                                                   Plaintiffs,
                                                                                                                         18
                                                                                                                               vs.
                                                                                                                         19
                                                                                                                               KYLE BROWN, an individual; MARTIN
                                                                                                                         20    BROWN, an individual; EXCHANGE
                                                                                                                               POINTS CLUB, LLC, a Florida and
                                                                                                                         21    Missouri limited liability company;
                                                                                                                               EXCHANGE POINTS CLUB, LLC;
                                                                                                                         22    PREMIER REWARDS LLC, a Missouri
                                                                                                                               limited liability company; VMG RESORTS
                                                                                                                         23    LLC, a Missouri limited liability company;
                                                                                                                               VACATION MANAGEMENT GROUP,
                                                                                                                         24    LLC, a Missouri limited liability company;
                                                                                                                               and OWNER EXTRAS LLC, a Missouri
                                                                                                                         25    limited liability company,
                                                                                                                         26                        Defendants.
                                                                                                                         27

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                                                                                                                         1     EXCHANGE POINTS CLUB, LLC, a
                                                                                                                               Florida and Missouri limited liability
                                                                                                                         2     company; MEMBER PERKS, LLC, formerly
                                                                                                                               known as PREMIER REWARDS LLC, a
                                                                                                                         3     Missouri limited liability company; and
                                                                                                                               VACATION MANAGEMENT GROUP,
                                                                                                                         4     LLC, a Missouri limited liability company,
                                                                                                                         5                        Counterclaimants,
                                                                                                                         6     vs.
                                                                                                                         7     DIAMOND RESORTS CORPORATION, a
                                                                                                                               Maryland corporation; DIAMOND
                                                                                                                         8     RESORTS HOLDINGS, LLC, a Nevada
                                                                                                                               limited liability company; DIAMOND
                                                                                                                         9     RESORTS INTERNATIONAL, INC., a
                                                                                                                               Delaware corporation; DIAMOND
                                                                                                                         10    RESORTS INTERNATIONAL CLUB, LLC,
                                                                                                                               a Delaware corporation; and DIAMOND
                                                                                                                         11    RESORTS CENTRALIZED SERVICES
                                                                                                                               COMPANY, a Delaware corporation,
                                                                                                                         12
                                                                                                                                                  Counter-defendants.
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                                                                                                                         14

                                                                                                                         15          The parties hereby stipulate to the entry of this Consent Judgment and

                                                                                                                         16    Permanent Injunction. The parties acknowledge that this injunction and judgment

                                                                                                                         17    was agreed upon as a compromise of disputed claims, and that the entry of the

                                                                                                                         18    Consent Judgment and Permanent Injunction is not, and may not be construed as,

                                                                                                                         19    an admission of liability by any of the parties hereto or any third parties, and is not

                                                                                                                         20    to be construed as an admission that Defendants or their owners and/or directors

                                                                                                                         21    engaged in any wrongful, tortious or unlawful activity. The parties state, and the

                                                                                                                         22    Court hereby finds, the following:

                                                                                                                         23          1.     Plaintiffs Diamond Resorts Corporation, Diamond Resorts Holdings,

                                                                                                                         24    LLC, and Diamond Resorts International, Inc. (collectively, the “Diamond Plaintiffs”)

                                                                                                                         25    are a collection of interrelated businesses that, together with affiliated parents and

                                                                                                                         26    subsidiaries, market and sell timeshare interests, manage resorts and multi-resort

                                                                                                                         27    trusts, and operate points-based vacation clubs.

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                                                                                                                         1           2.      In tandem with their hospitality and management services, the
                                                                                                                         2     Diamond Plaintiffs’ core business is the marketing and sale of timeshare interests.
                                                                                                                         3           3.      The purchasers of those timeshare interests (“Collection Members”)
                                                                                                                         4     acquire, through their purchase, “Points,” which act as currency that is exchangeable
                                                                                                                         5     for occupancy rights in accommodations at resorts within the Collection Members’
                                                                                                                         6     timeshare programs and at other Diamond-affiliated resorts (collectively, the
                                                                                                                         7     “Diamond Resorts”).
                                                                                                                         8           4.      The Points that Collection Members purchase are personal to each
                                                                                                                         9     Collection Member. Under the terms governing the Diamond Plaintiffs’ timeshare
                                                                                                                         10    programs, Collection Members are not permitted to employ their Points for a
                                                                                                                         11    commercial use, including by renting them out for use by non-Collection Members.
                                                                                                                         12          5.      Collection Members typically reserve their accommodations at Diamond
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                                                                                                                         13    Resorts online, applying their Points to the purchase of reservations at the Diamond
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                                                                                                                         14    Resorts through their unique username-and-password-protected Collection Members’
                                                                                                                         15    portal accounts (“Member Portal Accounts”), which are hosted and managed by the
                                                                                                                         16    Diamond Plaintiffs and affiliated parents and subsidiaries.
                                                                                                                         17          6.      Diamond Resorts Holdings, LLC is the owner of multiple marks (the
                                                                                                                         18    “Diamond Marks”), which the Diamond Plaintiffs and affiliated parents and
                                                                                                                         19    subsidiaries use in coordination with each other, and under the supervision of
                                                                                                                         20    Diamond Resorts Holding, LLC, to market to, and communicate with, the public and
                                                                                                                         21    Collection Members about the products and services of the Diamond Plaintiffs and
                                                                                                                         22    affiliated businesses.
                                                                                                                         23          7.      The Diamond Marks include the marks DIAMOND RESORTS
                                                                                                                         24    INTERNATIONAL®, DIAMOND RESORTS®, DIAMOND PLUS POINTS®, and
                                                                                                                         25    THE CLUB®.
                                                                                                                         26          8.      Defendant Kyle Brown is or was the sole member/organizer of defendant
                                                                                                                         27    Exchange Points Club, LLC, and is or was the sole member of defendant Owner
                                                                                                                         28    Extras LLC.

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                                                                                                                         1            9.     Defendant Martin Brown is or was the sole member of defendant VMG
                                                                                                                         2     Resorts LLC and defendant Vacation Management Group, LLC.
                                                                                                                         3            10.    Defendants Kyle Brown and Martin Brown are or were the sole
                                                                                                                         4     members of Defendant Premier Rewards LLC d/b/a Member Perks LLC.
                                                                                                                         5            11.    On February 6, 2019, the Diamond Plaintiffs brought their Complaint
                                                                                                                         6     (ECF No.1) against Defendants, asserting claims against Defendants (a) for
                                                                                                                         7     trademark infringement under 15 U.S.C. § 1114, (b) for false designation of origin
                                                                                                                         8     under 15 U.S.C. § 1125(a)(1)(A), (c) for false advertising under 15 U.S.C. §
                                                                                                                         9     1125(a)(1)(B), (d) for deceptive trade practices under Nevada’s Deceptive Trade
                                                                                                                         10    Practices Act, Nev. Rev. Stat. §§ 598,598A et seq., and (e) for common law conversion.
                                                                                                                         11           12.    Simultaneous to the filing of their Complaint, the Diamond Plaintiffs
                                                                                                                         12    moved for a preliminary injunction (ECF No. 2).
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                                                                                                                         13           13.    Both the Diamond Plaintiffs’ Complaint and their Preliminary
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                                                                                                                         14    Injunction Motion were brought in response to a line of business in which (some, or
                                                                                                                         15    all, of) Defendants were selling unauthorized access to vacation stays at the Diamond
                                                                                                                         16    Resorts and/or unauthorized access to vacation properties or resorts owned and/or
                                                                                                                         17    operated by the Diamond Plaintiffs or an affiliated parent or subsidiary. Defendants’
                                                                                                                         18    line of business involved three steps:
                                                                                                                         19           a.     First, Defendants gained control of Points that had been sold to
                                                                                                                         20                  Collection Members.        To do this, (some, or all, of) the Defendants
                                                                                                                         21                  engaged in a campaign of telephone solicitations directed at Collection
                                                                                                                         22                  Members, in which sales agents induced Collection Members to permit
                                                                                                                         23                  (some, or all, of) the Defendants to rent out use of their Points in
                                                                                                                         24                  violation of the terms governing the Collection Members’ timeshare
                                                                                                                         25                  programs.1    As part of this transaction, the Collection Members were
                                                                                                                         26           1
                                                                                                                                        The parties dispute whether Defendants were aware that the proposal they were making
                                                                                                                         27    to Collection Members violated the terms governing Collection Members’ timeshare programs.
                                                                                                                               That dispute is immaterial.
                                                                                                                         28

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                                                                                                                              Case 2:19-cv-00227-APG-NJK Document 93 Filed 09/24/20 Page 5 of 10



                                                                                                                         1                  contractually required to provide the usernames and passwords for their
                                                                                                                         2                  Member Portal Accounts, in addition to being required (in most
                                                                                                                         3                  instances) to pay an upfront fee.
                                                                                                                         4           b.     Second, (some, or all, of) the Defendants advertised on their websites
                                                                                                                         5                  programs for renting out Points and selling access to the Diamond
                                                                                                                         6                  Resorts, including by displaying images of specific properties at the
                                                                                                                         7                  Diamond Resorts and representing that (some, or all, of) the Defendants
                                                                                                                         8                  are authorized to sell or rent access to such Resorts.
                                                                                                                         9           c.     Third, (some, or all, of) the Defendants went on to the Diamond
                                                                                                                         10                 Plaintiffs’ password-protected reservation system with the express and
                                                                                                                         11                 written permission and on behalf of Collection Members and used that
                                                                                                                         12                 system to reserve stays at the Diamond Resorts for their customers, who
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                                                                                                                         13                 reserved vacation stays at the Diamond Resorts through them, not the
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                                                                                                                         14                 Diamond Plaintiffs.
                                                                                                                         15          14.    None of activities described in the preceding Paragraph was authorized
                                                                                                                         16    by the Diamond Plaintiffs.
                                                                                                                         17          15.    On July 23, 2019, the Court granted in part and denied in part the
                                                                                                                         18    Diamond Plaintiffs’ motion for a preliminary injunction, preliminarily enjoining Kyle
                                                                                                                         19    Brown, Exchange Points Club, LLC, Premier Rewards LLC d/b/a Member Perks LLC,
                                                                                                                         20    VMG Resorts LLC, and Vacation Management Group, LLC – and anyone acting in
                                                                                                                         21    concert with any of them – from engaging in the activities described in Paragraph 14
                                                                                                                         22    (ECF No. 54).
                                                                                                                         23          16.    On August 16, 2019, Defendants filed counterclaims against Diamond,
                                                                                                                         24    as well as against Diamond Resorts International Club, LLC and Diamond Resorts
                                                                                                                         25    Centralized Services Company (collectively, the “Diamond Counter-Defendants”),
                                                                                                                         26    seeking declaratory relief (ECF No. 60).
                                                                                                                         27          17.    On December 5, 2019, this Court dismissed Defendants’ counterclaims
                                                                                                                         28    (ECF No. 89).

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                                                                                                                         1           18.    The Diamond Plaintiffs, the Diamond Counter-Defendants, and
                                                                                                                         2     Defendants stipulate to the entry of this Permanent Injunction and Judgment as part
                                                                                                                         3     of a resolution of all matters in dispute in this Action between them.
                                                                                                                         4           For the reasons stated above, it is this ___ day of ___ 2020, hereby ORDERED,
                                                                                                                         5     with the consent and agreement of all parties that:
                                                                                                                         6           1.     The Court’s Preliminary Injunction Order (ECF No. 54) is converted to a
                                                                                                                         7                  permanent injunction and expanded to include defendants Martin
                                                                                                                         8                  Brown and Owner Extras LLC.
                                                                                                                         9           2.     Defendants SHALL BE ENJOINED from intentionally and knowingly
                                                                                                                         10                 advertising to, marketing to, approaching, communicating with or
                                                                                                                         11                 soliciting, whether directly, indirectly, or otherwise, any Collection
                                                                                                                         12                 Member with respect to any timeshare-related product or service.
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                                                                                                                         13          3.     Defendants SHALL BE ENJOINED from advertising to, marketing to,
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                                                                                                                         14                 approaching, communicating with or soliciting, whether directly,
                                                                                                                         15                 indirectly, or otherwise, anyone with respect to any product or service
                                                                                                                         16                 relating in any way to any product or service offered by the Diamond
                                                                                                                         17                 Plaintiffs or an affiliated parent or subsidiary. It shall not be a violation
                                                                                                                         18                 of this Paragraph for Defendants to unintentionally advertise to, market
                                                                                                                         19                 to, approach, communicate with or solicit, whether directly, indirectly,
                                                                                                                         20                 or otherwise, anyone who happens to be a Collection Member with
                                                                                                                         21                 respect to any product or service that is not related to a product or
                                                                                                                         22                 service offered by the Diamond Plaintiffs or any affiliated parent or
                                                                                                                         23                 subsidiary.
                                                                                                                         24          4.     Defendants SHALL BE ENJOINED from selling, attempting to sell, or
                                                                                                                         25                 facilitating the sale of, access to the Diamond Resorts. It shall not be a
                                                                                                                         26                 violation of this Paragraph for Defendants to sell, attempt to sell, or
                                                                                                                         27                 facilitate anyone else’s sale of, access to any property that is part of a
                                                                                                                         28                 resort that contains a property owned, managed, or controlled by the

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                                                                                                                         1                Diamond Plaintiffs or an affiliated parent or subsidiary provided that
                                                                                                                         2                the property to which Defendants are selling, attempting to sell, or
                                                                                                                         3                facilitating someone else’ sale of, access to is not itself owned, managed,
                                                                                                                         4                or controlled by the Diamond Plaintiffs or an affiliated parent or
                                                                                                                         5                subsidiary.
                                                                                                                         6          5.    Defendants SHALL BE ENJOINED from using any of the Diamond
                                                                                                                         7                Marks in connection with the advertisement or promotion – whether in
                                                                                                                         8                print, email, telephonically, on their websites, or otherwise – of any
                                                                                                                         9                products or services related to the Diamond Plaintiffs or an affiliated
                                                                                                                         10               parent or subsidiary.
                                                                                                                         11         6.    Defendants SHALL BE ENJOINED from engaging in any advertising or
                                                                                                                         12               promotion – whether in print, email, telephonically, on their websites, or
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                                                                                                                         13               otherwise – that in any manner implies (a) any affiliation with the
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                                                                                                                         14               Diamond Plaintiffs, (b) authorization from the Diamond Plaintiffs to act
                                                                                                                         15               as a wholesale distributor of vacation stays at the Diamond Resorts or to
                                                                                                                         16               facilitate or otherwise to sell access to the Diamond Resorts, or (c)
                                                                                                                         17               authorization from the Diamond Plaintiffs to act as a depository,
                                                                                                                         18               manager, or renter of Points.
                                                                                                                         19         7.    Defendants SHALL BE ENJOINED from accessing, attempting to
                                                                                                                         20               access, or assisting anyone in accessing or attempting to access, the
                                                                                                                         21               Diamond Plaintiffs’ password-protected online reservation system for
                                                                                                                         22               Collection Members, or any other password-protected online system
                                                                                                                         23               operated or controlled by the Diamond Plaintiffs or an affiliated parent
                                                                                                                         24               or subsidiary.
                                                                                                                         25         8.    Defendants ARE DIRECTED to destroy, delete, or otherwise remove all
                                                                                                                         26               documents or electronic information in their possession or control that
                                                                                                                         27               contain the usernames and/or passwords of any Collection Member
                                                                                                                         28               within ten (10) days of the entry of this Order. In addition, Defendants

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                                                                                                                         1                  will, within that same timeframe, take all steps practicable to cause to
                                                                                                                         2                  be destroyed, deleted, or otherwise removed all documents or electronic
                                                                                                                         3                  information that contain the usernames and/or passwords of any
                                                                                                                         4                  Collection Member that are currently in the possession of any former
                                                                                                                         5                  employee or associate of any of the Defendants. Following completion of
                                                                                                                         6                  this process, defendant Kyle Brown shall file with the Court a sworn
                                                                                                                         7                  statement attesting to the destruction, deletion, or removal of all such
                                                                                                                         8                  documents and electronic information, and describing all steps
                                                                                                                         9                  undertaken to comply with this Paragraph of the Order.
                                                                                                                         10          9.     This permanent injunction is binding on each of the Defendants, as well
                                                                                                                         11                 as on any person or entity working in concert with any of the
                                                                                                                         12                 Defendants.
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                                                                                                                         13          10.    Each party agrees to bear its own costs and attorney’s fees and its
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                                                                                                                         14                 portion of any court cost.
                                                                                                                         15          Further, in the event of an alleged violation of this Permanent Injunction, the
                                                                                                                         16    party alleging violation may notify the allegedly breaching party, in writing, of the
                                                                                                                         17    alleged violation.   If the breaching party fails to cure the alleged violation,
                                                                                                                         18    subsequent to a fifteen-day Notice to Cure period, and a judicial determination is
                                                                                                                         19    later made that such party was in violation of the terms of the Permanent Injunction,
                                                                                                                         20    the party that alleged the violation, in addition to injunctive and other relief the
                                                                                                                         21    Court may provide, shall be entitled to liquidated damages in the amount of $2,000,
                                                                                                                         22    per violation of this Permanent Injunction, plus an additional $1,000 per week,
                                                                                                                         23    subsequent to a thirty-day Notice to Cure period, the party in violation is found to
                                                                                                                         24    have remained in violation after receiving written notice, plus its attorneys’ fees and
                                                                                                                         25    costs incurred in enforcing this Permanent Injunction. In determining what conduct
                                                                                                                         26    amounts to a violation of this Permanent Injunction for the purposes of imposing
                                                                                                                         27    liquidated damages, conduct directed to or involving specific Collection Members
                                                                                                                         28    shall be counted as a separate violation for each such Collection Member.          The

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                                                                                                                              Case 2:19-cv-00227-APG-NJK Document 93 Filed 09/24/20 Page 9 of 10



                                                                                                                         1     Parties stipulate that the damages for breaching this Agreement are speculative, not
                                                                                                                         2     readily ascertainable, that liquidated damages are appropriate in this instance, and
                                                                                                                         3     that the amount of liquidated damages set forth in this Permanent Injunction is
                                                                                                                         4     reasonable.
                                                                                                                         5     Agreed to this 23rd day of September, 2020
                                                                                                                         6
                                                                                                                               /s/_Abran Vigil___________________                 /s/_Mark Albright__________________
                                                                                                                         7     Abran E. Vigil                                     G. Mark Albright
                                                                                                                               Nevada Bar No. 7548                                Nevada Bar No. 1394
                                                                                                                         8     Joseph P. Sakai                                    Jorge L. Alvarez
                                                                                                                               Nevada Bar No. 13578                               Nevada Bar No. 14466
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                                                                                                                         15    Attorneys for Plaintiffs/Counter-Defendants
                                                                                                                         16

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                                                                                                                                                                                   IT IS SO ORDERED
                                                                                                                         19
                                                                                                                                                                                   __________________________________
                                                                                                                         20                                                        DISTRICT COURT JUDGE
                                                                                                                         21                                                        Dated: ___________________________
                                                                                                                         22

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                                                                                                                         1                                CERTIFICATE OF SERVICE
                                                                                                                         2           I HEREBY CERTIFY that on this 23rd day of September, 2020, pursuant to
                                                                                                                         3     L.R. IC 4-1(d), I caused a true and correct copy of the foregoing Consent Judgment
                                                                                                                         4     and Permanent Injunction to be served upon all counsel of record via electronic mail.
                                                                                                                         5
                                                                                                                               G. MARK ALBRIGHT, ESQ.
                                                                                                                         6     Nevada Bar No. 1394
                                                                                                                               JORGE L. ALVAREZ, ESQ.
                                                                                                                         7     Nevada Bar No. 114466
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                                                                                                                         14
                                                                                                                                                                             /s/ Abran E. Vigil
                                                                                                                         15                                                  Abran E. Vigil
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